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8                            UNITED STATES DISTRICT COURT
9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                            EASTERN DIVISION
11                                   ) NO. EDCV 17-1872 DMG (SPx)
       UNITED STATES OF AMERICA,
12                                   )
                 Plaintiff,          )
13                                   ) [PROPOSED] ORDER LIFTING
                        vs.          )
14                                   ) STAY FOR THE LIMITED PURPOSE
       REAL PROPERTY LOCATED AT      ) OF ALLOWING PLAINTIFF TO FILE
15     10681 PRODUCTION AVENUE,      ) MOTION TO STRIKE CLAIM OF
       FONTANA, CALIFORNIA,          ) 10681 PRODUCTION AVENUE, LLC
16                                   )
                 Defendant.          )
17                                   )
                                     )
18     10681 PRODUCTION AVENUE, LLC, )
                                     )
19                                   )
                 Claimant.           )
20                                   )

21
22           Plaintiff United States has applied ex parte (with notice) for an order lifting
23     stay of this action for the limited purpose of allowing the government to file a
24     motion to strike the claim of 10681 Production Avenue, LLC.
25           Good cause appearing therefor, plaintiff’s application is GRANTED. IT IS
26     ///
27     ///
28     ///
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     Case 5:17-cv-01872-DMG-SP Document 43-1 Filed 09/06/19 Page 2 of 2 Page ID #:423




1      HEREBY ORDERED that the stay of this action is lifted for the limited purpose of
2      allowing the government to file a motion to strike the claim of 10681 Production
3      Avenue, LLC.
4            IT IS SO ORDERED.
5
6      DATED:                   , 2019
                                             THE HONORABLE DOLLY M. GEE
7
                                             UNITED STATES DISTRICT JUDGE
8
9
10     Presented by:
11     NICOLA T. HANNA
12     United States Attorney
       BRANDON D. FOX
13     Assistant United States Attorney
       Chief, Criminal Division
14
15           /s/ Steven R. Welk
       STEVEN R. WELK
16     Assistant United States Attorney
       Chief, Asset Forfeiture Section
17
18     Attorneys for Plaintiff
       UNITED STATES OF AMERICA
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